                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )       No. 13-mj-1015
v.                                            )
                                              )
DASHAWN LLOYD                                 )



                                            ORDER


        The defendant's motion to substitute counsel (Docket Entry No. 19) is GRANTED.
        Erik H. Herbert is hereby substituted as counsel for the defendant.

        The Clerk is directed to terminate Michael Flanagan as counsel for the defendant.

        It is so ORDERED.




                                              JULIET GRIFFIN
                                              United States Magistrate Judge




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